4 F.3d 986
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Origen L. TAYLOR, Plaintiff-Appellant,v.Earnest E. STRICKLAND;  Charles Graham;  Charles Kirby;Jace Green, d/b/a Buckhorn Garage,Defendants-Appellees.
    No. 93-1468.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 7, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  William B. Traxler, Jr., District Judge.  (CA-93-475-3-21)
      Origen L. Taylor, Appellant Pro Se.
      D.S.C.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Origen L. Taylor appeals from the district court's order dismissing his civil action, an appeal of a South Carolina Supreme Court decision, under the rationale of District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 476 (1983).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Taylor v. Strickland, No. CA-93-475-3-21 (D.S.C. Mar. 19, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         In light of this disposition, Taylor's motion to supplement the record on appeal is hereby denied
      
    
    